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      In The United States Court of Federal Claims
                                          No. 07-359C

                                     (Filed: May 14, 2010)
                                          __________
 SERAPHIM TRANSPORT COMPANY,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                           _________

                                           ORDER
                                          __________

       On May 13, 2010, plaintiff filed a motion to extend the discovery deadline in this case by
120 days. On or before May 21, 2010, defendant shall file a response to plaintiff’s motion,
providing a detailed explanation of its efforts thus far to complete discovery in this case.

       IT IS SO ORDERED.



                                                            s/ Francis M. Allegra
                                                            Francis M. Allegra
                                                            Judge
